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 1   JOSEPH SCHLESINGER, Bar# 87692
     Acting Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     BRANDON McMURRIAN
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,    )         No. 2:12-CR-442 LKK
                                  )
13                 Plaintiff,     )        STIPULATION AND ORDER TO CONTINUE
                                  )        STATUS CONFERENCE AND EXCLUDE
14           v.                   )        TIME
                                  )
15   BRANDON McMURRIAN and        )
     JOEL MURDOCH,                )        DATE: February 26, 2013
16                                )        TIME: 9:15 a.m.
                   Defendants.    )        JUDGE: Hon. Lawrence K. Karlton
17                                )
     ____________________________ )
18
19     It is hereby stipulated and agreed to between the United States of
20   America through SAMUEL WONG, Assistant U.S. Attorney; defendant BRANDON
21   McMURRIAN by and through his counsel, BENJAMIN GALLOWAY, Assistant
22   Federal Defender; and defendant, JOEL MURDOCH, by and through his
23   counsel, DONALD DORFMAN, that the status conference set for January 29,
24   2013 be continued to February 26, 2013 at 9:15 a.m.
25     The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28   / / /
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 1     The parties stipulate that the Court should find the ends of justice
 2   served by the granting of such continuance outweigh the interests of
 3   the public and the defendants in a speedy trial.
 4      Speedy trial time is to be excluded from the date of this order
 5   through the date of the status conference set for February 26, 2013,
 6   pursuant to 18 U.S.C. § 3161 (h)(7)(A) and (B)(iv) [reasonable time to
 7   prepare] (Local Code T4).
 8
     DATED: January 24, 2013              Respectfully submitted,
 9
                                          JOSEPH SCHLESINGER
10                                        Acting Federal Defender
11                                        /s/ Benjamin Galloway
                                          BENJAMIN GALLOWAY
12                                        Assistant Federal Defender
                                          Attorney for Defendant
13                                        BRANDON McMURRIAN
14
                                          /s/ Donald Dorfman
15                                        DONALD DORFMAN
                                          Attorney for Defendant
16                                        JOEL MURDOCH
17
     DATED: January 24, 2013              BENJAMIN B. WAGNER
18                                        United States Attorney
19                                        /s/ Benjamin Galloway for
                                          SAMUEL WONG
20                                        Assistant U.S. Attorney
                                          Attorney for Plaintiff
21
22
                                    O R D E R
23
        The Court, having received, read, and considered the stipulation of
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     the parties, and good cause appearing therefrom, adopts the stipulation
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     of the parties in its entirety as its order. The Court specifically
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     finds that the failure to grant a continuance in this case would deny
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     counsel reasonable time necessary for effective preparation, taking
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     into account the exercise of due diligence.        The Court finds that the

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 1   ends of justice to be served by granting the requested continuance
 2   outweigh the best interests of the public and defendants in a speedy

 3   trial.

 4      The Court orders that the time from the date of the parties

 5   stipulation, up to and including February 26, 2013, shall be excluded

 6   from computation of time within which the trial of this case must be

 7   commenced under the Speedy Trial Act, pursuant to 18 U.S.C.

 8   § 3161(h)(7)(A) and(B)(iv) T4 (reasonable time for counsel to prepare).

 9   It is further ordered that the January 29, 2013 status conference shall

10   be continued until February 26, 2013, at 9:15 a.m.

11   DATED: January 29, 2013
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